Case 1:21-cv-02130-CJN Document 2-6 Filed 08/10/21 Page 1 of 3




    Exhibit 375
              Case 1:21-cv-02130-CJN Document 2-6 Filed 08/10/21 Page 2 of 3

                                        Susman Godfrey l.l.p.
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                                                       __________
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        __________                                        __________                                   __________

                        Stephen Shackelford, Jr.
                                                                                      E-Mail SShackelford@susmangodfrey.com
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          June 18, 2021


          Re:       OAN’s Repeated and Knowingly False Coverage of Dominion

          Dear Mr. Rhodes:

                   I write on behalf of my client Dominion1 to put OAN on notice yet again
          that its false and outrageous reporting—which OAN has continued despite multiple
          retraction demands—has caused extraordinary and irreparable harm to Dominion.
          Since Dominion’s May 13, 2021 letter, OAN has refused to apologize or retract its
          defamatory statements. Rather, OAN has continued to spread its knowing and
          reckless lies about Dominion and the 2020 election, most recently in its May 15,
          May 19, and June 6, 2021 broadcasts. OAN must immediately retract its defamatory
          statements in full and issue an immediate on-air and written apology.

                   By now, OAN has spun its lies about Dominion into an entire segment of
          OAN’s programming, in which OAN regularly hosts guests to spread known
          falsehoods about Dominion. For example, on May 15, 2021, OAN and OAN’s
          Christina Bobb hosted Colonel Phil Waldron, who falsely claimed that Dominion
          voting machines were connected to the internet and that Dominion rigged the
          election with “Chinese communist party involvement.” OAN aired these lies
          despite its complete knowledge of their falsity and Dominion’s numerous retraction
          letters putting OAN on notice.

                   Just days later, OAN continued its lies about Dominion. On May 19, 2021,
          OAN and OAN’s Pearson Sharp and Mike Dinow claimed that votes on Dominion
          voting machines were “clearly deleted.” Sharp also suggested that Dominion was
          affiliated with George Soros and claimed that Soros’s “henchman [were] working
          overtime to control the outcome of the 2020 election.” OAN knew these far-fetched
          lies were false or at minimum recklessly disregarded their falsity.


          1
           “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and
          Dominion Systems Corporation.
 Case 1:21-cv-02130-CJN Document 2-6 Filed 08/10/21 Page 3 of 3



June 18, 2021
Page 2



        But OAN’s lies about Dominion still did not stop there. On June 6, 2021,
OAN and OAN’s Natalie Harp hosted Mike Lindell to promote his newest special
defaming Dominion, “Absolute 9-0.” Harp yet again falsely claimed that Dominion
rigged the 2020 election, adding: “What a neat and tidy little narrative they rig to
cheat and steal an election.” Mike Lindell agreed, falsely claiming that Dominion
orchestrated a “cyber attack” on the 2020 election and that Lindell has “evidence
of the machine fraud of this cyber attack with mostly . . . China.” Later that same
day, on a segment entitled “Cyber Attack on the 2020 Election,” Lindell once again
falsely claimed that Dominion orchestrated a cyber attack on the 2020 election.
“This was something that came through the machines. The Dominion machines, the
Smartmatic and other machines. This was a cyber attack.”

        OAN’s lies about Dominion must stop. Contrary to OAN’s assertions in its
May 23, 2021 letter, these statements are not constitutionally protected lies, nor are
these statements merely opinion. Rather, OAN knows these statements are false.
Indeed, the public record is replete with evidence disproving these lies, and
Dominion has sent countless letters correcting OAN’s lies and demanding a
retraction and an apology. Yet despite OAN’s knowledge of these lies, OAN has
continued to spread them for OAN’s profit at Dominion’s great expense.

        Although OAN cannot undo the damage it has done to Dominion, this is
OAN’s opportunity to stop the bleeding by retracting its defamatory statements in
full and issuing an on-air and written apology.

Sincerely,




Stephen Shackelford, Jr.
